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   23-0155-cv
        United States Court of Appeals
                                      for the

                          Second Circuit

  40 DAYS FOR LIFE, a nonprofit corporation of the State of Texas, WHITE
PLAINS 40 DAYS FOR LIFE, as unincorporated association of the State of New
       York, OKSANA HULINSKY, REGINA CREARY MOLINELLI,
                                                            Plaintiffs-Appellants,
                          JANE DOE, SALLY ROE,
                                                                        Plaintiffs,
                                       – v. –
                       COUNTY OF WESTCHESTER,
                                                            Defendant-Appellee,
   COUNTY OF WESTCHESTER COUNTY DEPARTMENT OF PUBLIC
 SAFETY, TERRANCE RAYNOR, Acting Commissioner of the Westchester
Department of Public Safety, in his official capacity, NEW ROCHELLE POLICE
  DEPARTMENT, CITY OF WHITE PLAINS DEPARTMENT OF PUBLIC
SAFETY, GEORGE LATIMER, Chief Executive of the County of Westchester,
                             in his official capacity,
                                                                      Defendants.
                      ––––––––––––––––––––––––––––––
          ON APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK

                   OPENING BRIEF AND SPECIAL
                    APPENDIX FOR PLAINTIFFS-
                          APPELLANTS

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                            INTRODUCTION

     Over the past two decades, few principles of American law have

become more clearly or solemnly recognized than the general rule that

under the Free Speech Clause of the First Amendment, government

may not restrict speech based on its content, including its substantive

“purpose,”   without    undergoing     the   most    rigorous    scrutiny   in

constitutional law—a test government rarely passes.

     But in a fit of political rage (and recklessness) in the days of after

the Supreme Court’s decision in Dobbs v. Jackson Women’s Health Org.,

142 S. Ct. 2228 (2022), Westchester County did exactly what that

hallowed principle forbids, explicitly in the hope that, as the County

Attorney put it, “our legislation never gets to the Supreme Court” or

even the “wrong” panel of this Court.

     Specifically, the County adopted a floating “Bubble Zone”

prohibiting individuals from “knowingly approach[ing]” another within

eight feet, without their consent, “for the purpose of passing any

material, item, or object to, displaying a sign to, or engaging in oral




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protest, education, or counseling with such other person” within 100 feet

from “any door” to a “reproductive health care facility” in the County.1

        Astonishing admissions by County legislators show that the

Bubble Zone was expressly tailored to shield individuals entering or

exiting abortion facilities from the so-called “maximum fury” “of the

First Amendment,” and to prevent pro-life sidewalk counselors from

distributing so-called “Trojan Horse gifts” as a “bridge” to conversation

with women contemplating abortion.

        Under the Bubble Zone, approaching another person in the

restricted area to talk about sports or the weather is perfectly legal. But

handing out a leaflet about the physical and psychological risks of

abortion is forbidden “education”; uttering any statement against

abortion—but not in favor of abortion—is forbidden “oral protest”; and

speaking to a woman regarding her circumstances and alternatives to

abortion is forbidden “counseling.” Under the Bubble Zone, law

enforcement must closely observe the speaker’s substantive message to

determine whether it is permitted speech or a criminal offense

punishable by imprisonment.


1   All emphasis in this brief is added unless otherwise noted.
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     The Bubble Zone is blatantly unconstitutional under prevailing

First Amendment principles. But prior to the Supreme Court’s recent

affirmations of those principles, it upheld a materially identical bubble

zone in Hill v. Colorado, 530 U.S. 703 (2000). As the Supreme Court has

since made clear, however, that anomalous decision is now all but dead.

In Dobbs, the Court specifically recognized that Hill was a “distort[ion]

[of] First Amendment doctrines.” 142 S. Ct. at 2276 & n.65. And in a

separate case last term, the Court stated it was not “resuscitat[ing]”

Hill. City of Austin v. Reagan Nat’l Advert. of Austin, 142 S. Ct. 1464,

1475 (2022).

     But until Hill is formally overturned, Plaintiffs must apparently

suffer irreparably under the Bubble Zone. Plaintiffs Oksana Hulinsky

and Regina Molinelli have engaged in pro-life sidewalk advocacy and

counseling outside Planned Parenthood facilities in Westchester County

for years, while Plaintiff 40 Days for Life (40DFL), an international pro-

life organization, relies on the volunteers of Plaintiff White Plains 40

Days for Life (WP-40DFL) to promote its mission in Westchester

County by way of twice-a-year 40-day “Local Vigils” that include,

besides prayer, sidewalk advocacy and counseling outside the White


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Plains Planned Parenthood facility in Greenburgh, NY. As the

legislative history reveals, the Bubble Zone was designed to impede this

activity.

      This     lawsuit    was    commenced      in   August     2022      by   two

pseudonymous plaintiffs who feared publicity in light of the post-Dobbs

violence then occurring throughout the country. The plaintiffs sought a

preliminary injunction against the Bubble Zone and six additional

provisions adopted simultaneously into a newly enacted Chapter 425 of

the Laws of Westchester County.2

      After the District Court prohibited Plaintiffs from even filing a

preliminary injunction motion until it decided their motion to proceed

pseudonymously, which remained undecided for months despite full

briefing, a separate individual, Ms. Vitagliano, filed her own lawsuit,

Vitagliano v. County of Westchester, 7:22-cv-9370, challenging only the


2  The other prohibitions, including one on “interfering with” the
“operation of a reproductive health care facility,” and another on
“follow[ing] and harass[ing]” over and against another’s “implied
request to cease” one’s speech, were expressly adopted on the authority
of this Court’s decision in New York v. Griepp, 991 F.3d 81 (2d Cir.
2021), even though Griepp had been vacated in its entirety by the same
panel more than a year earlier. See People v. Griepp, 997 F.3d 1258 (2d
Cir. 2021)

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Bubble Zone. The case was assigned to the same District Judge, who

quickly issued a 12(b)(6) dismissal of Vitagliano’s complaint on the basis

that Hill remains controlling. Vitagliano immediately appealed.

     By that time, Plaintiffs here had twice amended their Complaint

to include only fully identified parties, in part to end the District

Court’s delay given the urgency of their request for preliminary

injunctive relief. The District Court finally held a pre-motion conference

on Plaintiffs’ motion for a preliminary injunction (as required by the

Judge’s Individual Practice Standards), nearly five months after

Plaintiffs’ initial request. During that conference the District Court

repeatedly, emphatically, and irrevocably denied injunctive relief as to

the Bubble Zone, concluding: “I am not going to give you a different

ruling in this case than I did in the Vitagliano case,” “period.”

     The District Court further expressed a willingness to issue a

summary order denying Plaintiffs a preliminary injunction as to the

Bubble Zone so that Plaintiffs could take an immediate appeal on that

issue, and the County did not oppose. But the District Court refused to

sign Plaintiffs’ proposed order to that effect, concluding that it found “no




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basis in law to bifurcate” Plaintiffs’ underlying preliminary injunction

motion.

     Plaintiffs have appealed from the District Court’s “effective

denial” of a preliminary injunction against the Bubble Zone. Prior to

this filing, Plaintiffs also moved this Court for an injunction pending

appeal (IPA) and an expedited appeal and briefing schedule. This Court

denied the IPA, but granted the motion for an expedited briefing

schedule, ordering that this appeal be heard “in tandem with” the

Vitagliano appeal (No. 23-30).

     Post-Dobbs, there can be no doubt the Bubble Zone is causing

Plaintiffs irreparable harm given the substantive protections of the

First Amendment, despite the Supreme Court’s nominally controlling

decision in Hill. Yet today, Plaintiffs are in the midst of their second 40-

day “Local Vigil” since the Bubble Zone’s enactment without the ability

to engage in actual sidewalk counseling—with untold costs to women

open to considering alternatives to abortion (or post-abortion healing),

and to their unborn children.

     As Justice Scalia rightly observed in his prescient dissent in Hill,

there is “no doubt that this regulation would be deemed content based


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in an instant if [it] involved antiwar protesters, or union members…”

Hill, 530 U.S. at 742 (Scalia, J., dissenting) (emphasis in original). It is

long past time that Hill be reversed, and the County’s preposterous

Bubble Zone be enjoined.

                    JURISDICTIONAL STATEMENT

      The District Court had jurisdiction pursuant to 28 U.S.C. §§ 1331

and 1343, as this matter arose under the First and Fourteenth

Amendments.

      This Court has jurisdiction under 28 U.S.C. § 1292(a)(1), as the

District Court effectively denied Plaintiffs’ motion for a preliminary

injunction against the Bubble Zone during the January 18, 2023 Pre-

Motion Conference, and by rejecting, on January 25, 2023, Plaintiffs’

consented-to proposed order reflecting that denial. SPA4 at 4:9-10;

SPA.9 at 9:10-11; SPA.17 at 17:24-25; SPA.25. Plaintiffs timely

appealed on February 3, 2023. App.376-77. See infra (Argument,

Section I).

                        STATEMENT OF ISSUES

      I.      Whether this Court has jurisdiction under 28 U.S.C. §

1292(a)(1) to decide Plaintiffs’ interlocutory appeal from the District

Court’s effective denial of Plaintiffs’ motion for preliminary injunctive
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relief against enforcement of Westchester County’s eight-foot Bubble

Zone law.

     II.      Whether the Bubble Zone law’s criminalization of pro-life

sidewalk counseling without prior consent, including leafletting and

“oral protest, education, or counseling” within the eight-foot forbidden

zone, is a content-based speech restriction that fails strict, and even

intermediate, scrutiny in violation of long-established First Amendment

principles.

                      STATEMENT OF THE CASE

     A.       Factual Background.

              1.   Plaintiffs and their pro-life speech.

     Plaintiffs Regina Joy Creary Molinelli and Oksana Hulinsky are

pro-life sidewalk counselors in Westchester County. App.65-70 ¶¶26-49.

They believe that the moments when expectant mothers enter or leave

an abortion facility are the last best hope of encouraging them to seek

abortion alternatives, and that it is crucial to be able to approach these

women for quiet, face-to-face conversation rather than calling out or

holding signs at a distance. Id. ¶¶35, 47.




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                a. Oksana Hulinsky

      Hulinsky, a retired public school guidance counselor, has been

engaged in pro-life sidewalk counseling and advocacy for approximately

four years. App.65 ¶26. She usually does so every Thursday on the

public sidewalk outside Planned Parenthood – New Rochelle Health

Center in the County. Id. She has also participated in Local Vigils

conducted by WP-40DFL outside the White Plains Planned Parenthood.

App.66 ¶34. She desires to continue doing so if the Bubble Zone is

enjoined. Id.

      Hulinsky is motivated by her sincere religious beliefs as a Catholic

Christian that abortion is the wrongful direct taking of innocent human

life. App.65.¶27. She was inspired to become a sidewalk counselor and

advocate when she saw color photos depicting the brutal destruction of

an aborted unborn child. App.65 ¶28. Her conscience thus compels her

to   peacefully   and   lawfully    encourage    mothers,     in   face-to-face

conversations, to choose life instead of abortion. App.65 ¶29.

      Hulinksy’s pro-life advocacy has included praying the Rosary,

usually with others, and holding a 40 Days for Life sign on the public

sidewalk. App.66 ¶¶30, 33. Her sidewalk counseling has included


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peacefully approaching expectant mothers entering the facility in order

to engage in short, quiet conversations, at normal conversational

distance, while offering literature describing alternatives to abortion.

App.66 ¶31. The literature provides information on adoption as well as

available financial, medical, and housing assistance if an expectant

mother contemplating abortion elects to choose life for her unborn child.

App.66 ¶32; see also App.157-71 (Hulinksy sample literature).

     The entrance to the New Rochelle facility where Hulinsky

regularly advocates for life is directly adjacent to the public sidewalk,

and thus her pro-life sidewalk counseling occurs well within 100 feet of

the entrance. App.223; see also https://tinyurl.com/2p8ep7vu (Google

Street View).

                b. Regina Molinelli

     Molinelli, a Catholic school catechism teacher who is married with

children, has been engaged in pro-life sidewalk advocacy and counseling

outside abortion facilities in Westchester County for approximately

eight years. App.67 ¶38. Molinelli is motivated by her sincere religious

belief as a Catholic Christian that abortion is the wrongful direct taking

of innocent human life. App.67 ¶39. Her Catholic faith, which informs


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her conscience, compels her to oppose and publicly advocate and counsel

against abortion, and in favor of life-affirming alternatives. App.67

¶¶39,43. She believes she would sin by omission if she did not

encourage expectant mothers, in face-to-face conversations, to choose

life instead of abortion. App.67 ¶39.

     Molinelli currently engages in pro-life advocacy and counseling

outside the White Plains Planned Parenthood, usually during the twice-

a-year 40-day “Local Vigil” organized by WP-40DFL. App.68 ¶¶41-42.

She has received formal training in peaceful techniques for such

advocacy and counseling. App.67 ¶40.

     Her advocacy includes praying the Rosary on the public sidewalk

adjacent to the facility, near the driveway leading to the facility’s

parking lots. App.68 ¶41. She also holds pro-life signs that display such

messages as: “Pray to End Abortion,” or the contact information of a

pro-life organization that provides pregnancy assistance to mothers who

elect not to choose abortion. App.69 ¶46.

     Her sidewalk counseling requires a peaceful approach to

expectant mothers and others entering or leaving the facility by car, or

on foot, in order to engage in short, quiet conversation, at normal


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conversational distance. App.68 ¶43. As part of this activity, she offers

literature relating to the physical and psychological risks of abortion,

fetal development, and alternatives to abortion, including contact

information for adoption, financial, medical, and housing assistance if

an expectant mother contemplating abortion elects not to abort her

child. Id.; see also App.176-78 (Molinelli sample literature). One of her

“primary concern[s]”, in addition to the life of the unborn child, is the

emotional state of the expectant mother, who may be “under duress”

from being “pushed into” a decision she might come to regret later in

life, App.68 ¶43, which makes a quiet, peaceful approach, rather than

calling out from a distance, all the more important.

     Molinelli also offers “Blessing Bags” containing food and other

items as an act of kindness that lends itself to conversation about

alternatives to abortion. App.68-69 ¶44. She has occasionally also

offered roses to women and their companions entering or leaving the

facility as a gesture of friendship and respect. App.69 ¶44.

     Generally, if a car stops on the public portion of the driveway

outside the White Plains Planned Parenthood facility, possibly to allow

her to speak, Molinelli will walk up to the car to engage in conversation


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with the occupants and offer literature and a “Blessing Bag.” (App.69

¶45.)

        This activity occurs on the public right-of-way adjacent to the

facility’s driveway, well within 100 feet of the White Plains Planned

Parenthood facility’s front door. App.70 ¶48; App.173-75, 225. Although

the front entrance is no longer left unlocked, occasionally those

approaching the facility attempt to use that entrance, and they are

admitted if they knock. App.70 ¶48. Molinelli has additional

opportunities to counsel women face-to-face if they approach that

entrance, although the driveway access is where the greatest

opportunity lies. Id.

               c. 40 Days for Life

        40DFL is an international pro-life advocacy organization that

promotes 40-Day Local Vigils on public rights-of-way adjacent to

abortion facilities throughout the nation, including outside the White

Plains Planned Parenthood facility. App.63 ¶15. Its mission is to bring

together the Body of Christ in a spirit of unity during twice-a-year 40-

day campaigns of prayer, fasting, and peaceful sidewalk activism

outside abortion facilities. App.61 ¶9.


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     Local Vigils include displaying fetal models, hosting rallies at the

vigil site, directing women to an ultrasound bus/mobile pregnancy help

center stationed nearby where legally permitted, processions to or

around the vigil site, sidewalk outreach, counseling and advocacy, and

referring women to pregnancy help centers. App.64 ¶19.

     Local Vigils are independent from 40DFL, which neither directs

nor leads any particular Vigil. App.62 ¶10. But 40DFL provides

training and support for Local Vigil leaders (mostly volunteers) and

allows its well-known brand “40 Days for Life” and associated

registered trademarks (“logo”) to be used in conjunction with Local

Vigils, at the local leader’s discretion, provided the participants all

pledge to engage only in prayerful, peaceful, and lawful advocacy and

obey any police orders to disperse rather than risk arrest. App.62 ¶¶10,

17; see also App.140 (“Statement of Peace”).

     40DFL offers training and encourages participants in Local Vigils

to peacefully approach persons entering or leaving the facility, or

passersby, to converse or offer literature on alternatives to abortion and

other resources, including pregnancy help, adoption, post-abortion

healing, abortion education information, and abortion pill reversal.


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App.63 ¶18. This kind of sidewalk activism by participants in Local

Vigils is important to 40DFL’s mission. Id.

              d. White Plains 40 Days for Life

     WP-40DFL is an unincorporated association of pro-life advocates

that conducts Local Vigils on the public rights-of-way outside the White

Plains Planned Parenthood. App.62 ¶11. The association exists for the

common purpose of advocating for life and peacefully bringing about an

end to abortion. App.64 ¶21.

     During    the   twice-a-year    40-day    Local    Vigils,   WP-40DFL

volunteers gather at the aforesaid place to engage in prayer and pro-life

advocacy, including with the use of 40DFL promotional materials.

App.64. ¶¶21, 22. Volunteers are authorized to, and many do, approach

persons entering or leaving the facility for one-on-one discussion or to

offer literature on pro-life alternatives, including on pregnancy help,

adoption, post-abortion healing, abortion pill reversal, and educational

information. App.64 ¶23; see also App.149-55 (samples of literature

handed out at 40 Days Local Vigils across the country, including

Westchester County). WP-40DFL will immediately continue engaging in

this activity if the Bubble Zone is enjoined, given the significant stakes


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involved. App.64 ¶¶22, 23; see also App.63 ¶16 (40DFL Local Vigils

have assisted more than 22,000 women around the world to choose life

for their unborn children, and have persuaded            staffers at abortion

facilities to leave the abortion industry).

           2.    The Bubble Zone’s Legislative Background.

     On June 27, 2022, three days after the Supreme Court’s decision

in Dobbs, the County adopted Chapter 425 of the Laws of Westchester

County, containing nine separate prohibitions on conduct and speech

outside of “reproductive health care facilit[ies].” App.59 ¶1; App.70-71

¶¶50-53; App.217-18 (§§ 425.31(a)-(i)). The County asserted that the

law was the result of slow police response to a single trespass incident

involving a non-violent sit-in inside an abortion facility in November

2021, for which the responsible individuals were convicted and jailed.

App.59-60 ¶¶2-3; App.93 ¶107; App.195-96. But the enacted law

imposes speech restrictions having nothing to do with trespass but

rather (facially or as applied) pro-life speech outside abortion facilities.

App.217-18. The single worst restriction is the Bubble Zone.3



3  The additional provisions of § 425.31 prohibit the following:
Subsection (a): “physically obstruct[ing] or block[ing],” as defined to
include physically “hindering” or “impeding,” § 425.21(h), another
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     In contriving the Bubble Zone, legislators complained of “Trojan

Horse gifts” such as “little roses,” food, or drinks that pro-life advocates

offer as a “bridge” to conversation. App.101-02 ¶124.4 On the rationale

that it would make the County’s content-based discrimination “less

blatant” and “less flagrant” (A.109-10, ¶139), the legislators amended

the prohibition on passing a “leaflet or handbill” inside the bubble zone,

as in Hill, to “passing any material, item, or object.” App.101-02 ¶123).

Cf. Hill, 530 U.S. at 707.




person from entering a reproductive health facility; Subsection (b):
physically assaulting another seeking to enter or exit the facility;
Subsection (c): “follow[ing] and harass[ing]” another within 25 feet of
the facility’s premises or parking lots, with “harass” defined to include
“acts that continue after an express or implied request to cease has been
made,” 425.21(c); Subsection (d): repeated acts that place another in
reasonable fear of physical harm within 25 feet of the facility’s premises
or parking lots; Subsections (e) and (f): using force or physical
obstruction to, among other things, “interfere with” another “to
discourage” another from, or “because” the other was or is, obtaining or
providing reproductive health services, and defining “interfere with” as
including “to stop . . . through deceptive means or otherwise,” §
425.21(d); Subsection (g): physically damaging a reproductive health
facility so as to interfere with its operation; Subsection (h):
“interfer[ing] with the operation of a reproductive health care facility.”
4 Joint Meeting of the Westchester County Legislature Committees on

Health and Legislation,
https://westchestercountyny.granicus.com/player/clip/1454?view_id=1&r
edirect=true&h=36548071fec63c46b64b3f8ebeee1f57 (1:51:52).
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        Legislators also understood that there would be a “default”

presumption “that there isn’t consent.” App.100 ¶122(a)-(b).)

        The County knew the Bubble Zone would likely violate the First

Amendment. At a Committee meeting in June 2022, the County

Attorney advised that if the provision “ever got to the Supreme Court, I

have real questions,” given post-Hill Supreme Court decisions

(discussed below), and “I think we know what the Supreme Court would

rule if this ever got there,” “so hopefully our legislation never gets to the

Supreme Court.” App.104 ¶129(b). The County Attorney further hoped

the law is appealed “only to the Second Circuit; and we actually draw

the right panel… because there’s some recent appointees by the former

President… that I don’t think would support us here.” Id.5

             3.    The Bubble Zone’s Operative Text.

        As noted, the Bubble Zone prohibits “knowingly approach[ing]”

“within eight feet” of another person, “unless such person consents, for

the purpose of passing any material, item, or object to, displaying a sign

to, or engaging in oral protest, education, or counseling with such other




5   Joint Meeting, supra n.4 (at 39:55).
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person in the public way within a radius of one-hundred (100) feet from

any door to a reproductive health care facility.” § 425.31(i). App.211.

     “Approach” means “to move nearer in distance to someone,” §

425.21(a), ostensibly even by one inch. A.208.

     And “Eight (8) feet” is specifically and super-sensitively defined as

being “measured from the part of a person’s body that is nearest to the

closest part of another person’s body, where the term ‘body’ includes any

natural or artificial extension of a person, including, but not limited to,

an outstretched arm or hand-held sign.” § 425.21(b). A.208.

           4.    The Penalties for Violation.

     Violations are punishable by up to $1,000 in fines and six months

imprisonment for a first offense, and $5,000 in fines and one-year

imprisonment for subsequent offenses. § 425.41(a)-(b). App.212. The

County is authorized to bring a civil action for injunctive relief to “cure”

any alleged violation. App.212-13.

     The law also creates a cause of action for injunctive and monetary

relief (including treble damages), on account of any violation, for the

following persons: anyone “whose ability to access the premises of a

reproductive health facility has been interfered with”; “any owner or


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operator of a reproductive health care facility or owner of a building in

which such facility is located”; and “any employee, paid or unpaid, and

any volunteer working for such facility, and any invitee.” § 425.51.

App.212.

     To top it off, the law provides for joint and several liability where

anyone is deemed to have “acted in concert” with another to violate

Chapter 425. § 425.71. App.213.

            5.    The Bubble Zone’s Impact.

     Because of the Bubble Zone, Plaintiffs have ceased approaching

persons or vehicles entering or exiting Planned Parenthood facilities to

engage in sidewalk counseling. App.84 ¶79. The public portion of the

driveway access, where Plaintiffs approach vehicles at the White Plains

Planned Parenthood, is within 100 feet of its front “door,” and is thus

subject to the Zone’s restrictions. See § 425.31(i). App.86 ¶85; App.225.

So is the area where Hulinsky advocates outside the New Rochelle

Planned Parenthood (when she is not participating in a 40 Days Local

Vigil at the White Plains Planned Parenthood) App.88 ¶91(a); App.223.

     As a precaution, Hulinsky now prays while standing across the

street (which is still within 100 feet of the facility’s door) or in her car,


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and she categorically refrains from offering literature or conversing

with persons approaching or leaving the facility. App.88 ¶91(a). She has

also advised a pro-life advocate attempting to offer literature to women

near the facility to stand across the street with her instead, so as to

avoid being charged herself with “in concert” liability for his possible

violation of the Bubble Zone. App.88 ¶91(b).

      Similarly, Molinelli has entirely ceased her pro-life counseling

outside the White Plains Planned Parenthood, which had included

going to the spot at the public portion of the driveway that was her

primary point of encounter with persons approaching or leaving the

facility. App.88 ¶91(c)-(d).

      Additionally, after observing the reaction of WP-40DFL volunteers

during the Fall 40-day Local Vigil at the White Plains Planned

Parenthood from September 28, 2022 to November 6, 2022, a volunteer

attested that “no one is . . . offer[ing] literature to the occupants of cars

entering or leaving the facility, or approach[ing] cars that might wish to

engage a pro-life advocate.” App.328 ¶14.

      Accordingly, an injunction against the Bubble Zone would allow

Plaintiffs to resume “approach[ing]” persons and vehicles without first


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obtaining affirmative consent. App.100 ¶122, App.329 ¶17. Indeed, an

injunction against the Bubble Zone is the sine qua non for the

resumption of the “quiet,” “face-to-face” “conversation,” “at a normal

conversational distance,” that Plaintiffs deem essential to sidewalk

counseling. App. 65 ¶29; App.66 ¶31; App.67 ¶39; App.68 ¶43. This is

especially true given the additional “primary concern” for “the condition

of the mother who” may be “under duress” from being “pushed into” an

abortion she ultimately doesn’t want. App.68 ¶43.

     Enjoining the Bubble Zone would plainly allow resumption of this

fundamental First Amendment activity, even if Plaintiffs must, for

example, continue to avoid “following” anyone in violation of the “no-

follow-and-harass provision” (§ 425.31(c)), or “physically” “hinder[ing]”

or “imped[ing]” another from accessing the facility (§ 425.31(a)). Indeed,

in its Response to Plaintiffs’ pre-motion conference letter in furtherance

of their request for a preliminary injunction, the County argued

(conveniently) that Chapter 425’s other provisions do not even affect

Plaintiffs’ speech, while it admitted that such speech is “subject to” one

allegedly “modest ‘place’ regulation”—i.e., the Bubble Zone. App.339.




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     In sum, a preliminary injunction against the Bubble Zone would

halt significant and discrete irreparable harm Plaintiffs are now

suffering—in the midst of the 40-day Local Vigil that began on

February 22—as a result of the Bubble Zone’s enactment, even with

Chapter 425’s other provisions remaining in place.

     B.    Procedural History.

     This action was filed on August 15, 2022 by two plaintiffs who

sued under pseudonyms in light of the post-Dobbs violence then

reverberating throughout the country. Dist.Ct.Dkt. 1 ¶¶17-24, and at

69. They challenged seven of the nine restrictions in Chapter 425,6

particularly given that the County expressly derived its inspiration for

the law from this Court’s decision in New York v. Griepp, 991 F.3d 81

(2d Cir. 2021), which had construed the Freedom of Access to Clinic

Entrances (FACE) Act, 18 U.S.C. § 248, to restrict “de minimis,”

“incidental contact,” even when caused by “reach[ing] out to hand a

patient a pamphlet,” id. at 119, 124. That decision was so astonishingly

errant that it was entirely vacated by the same panel more than a year



6 There is no challenge to Subsection (b) (prohibiting physical assaults)
or Subsection (g) (prohibiting physical damage to reproductive health
facilities).
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earlier. People v. Griepp, 997 F.3d 1258 (2d Cir. 2021). Yet the County

expressly relied on this legal nullity to justify Chapter 425. App.106,

108 ¶¶130, 136-37; App.201.

     Although     the   Complaint’s     Prayer    for   Relief   requested   a

preliminary injunction, App.133, Plaintiffs’ efforts to obtain that relief

were blocked from the start.

     First, the Clerk’s Office refused to issue summonses (despite

Plaintiffs’ counsel having properly completed them (Dist.Ct.Dkt. 4)) so

long as the Court had not granted Plaintiffs leave to proceed

pseudonymously. App.34; cf. Fed.R.Civ.P. 4(b) (“If the summons is

properly completed, the clerk must sign, seal, and issue it to the

plaintiff for service on the defendant.”).

     Then, in compliance with Judge Halpern’s Practice Standards, at

2(C),7 Plaintiffs filed three mandatory pre-motion conference letters on

August 27, 2022, in furtherance of their intended motions for a

preliminary injunction (Dist.Ct.Dkt. 7), to file an oversized brief (Dkt.

8), and to proceed pseudonymously (Dkt. 9). But on September 15, the

Court purported to “den[y]” Plaintiffs “leave” to file a preliminary

7https://www.nysd.uscourts.gov/sites/default/files/practice_documents/P

MH%20Halpern%20Rules%20Rev%2005.02.2022%20.pdf
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injunction motion and a motion for an oversized brief, until it decided

the motion to proceed pseudonymously. App.35.           Plaintiffs complied,

filing the motion to proceed under pseudonyms on September 30, 2022,

(App.51), having ceased their sidewalk advocacy and counseling in the

meantime. Dist.Ct.Dkt. 1 ¶¶84-86. But the Court took no action on the

motion during the ensuing months.

     After experiencing the chilling effects of Chapter 425 during the

Fall 40-day Local Vigil, WP-40DFL and 40DFL joined the action on

November 23, 2022. Dist.Ct.Dkt. 45. Indeed, WP-40 DFL volunteer

Brian Burke attested that attendance during the Fall Local Vigil

“diminished by about 50% compared to past vigils.” App.329 ¶16.

     With the District Court still delaying a decision on the motion

regarding pseudonyms, and given the urgent, life-and-death impact of

the Bubble Zone law, Plaintiff Sally Roe decided to sue under her real

name (Molinelli), while Plaintiff Jane Doe dropped out, with Plaintiff

Hulinsky replacing her. To this end, the parties jointly moved on

December 15, 2022, to file a Second Amended Complaint, which the

District Court granted.    Dist.Ct.Dkt. 50, 51. At the same time, the

District Court finally denied Plaintiffs’ motion regarding pseudonyms,


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(finding it moot)—nearly four months after they had filed their

corresponding     pre-motion    conference      letter.   Dist.Ct.Dkt.   51&52.

Plaintiffs filed their Second Amended Verified Complaint with

identified parties on December 20, 2022. App.59.

     Meanwhile, a separate individual (Ms. Vitagliano), represented by

separate counsel, filed a related case assigned to the same district judge

on November 1, 2022, challenging only the Bubble Zone. Vitagliano,

7:22-CV-9370-PMH (S.D.N.Y.). In a December 21, 2022 response to the

County’s pre-motion conference letter to dismiss under Rule 12(b)(6),

Vitagliano conceded that Hill controlled and that her Complaint could

be   dismissed.   App.42.      The   District    Court    obliged,   dismissing

Vitagliano’s Complaint on January 3, 2023, without briefing, and

holding that, because Hill upheld a “materially identical” bubble zone

law in Colorado, it “foreclosed” arguments that the County’s Bubble

Zone is content-based and not narrowly tailored. App.48-50. The Court

further opined sua sponte that Vitagliano lacked standing as she had

not performed sidewalk counseling prior to filing suit. App.46-47.

Vitagliano appealed the next day. 7:22-CV-9370, Dist.Ct.Dkt. No.33; 2d

Cir. No. 23-30.


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     Plaintiffs here filed a letter with the District Court on December

22—the day after Vitagliano conceded her Complaint could be

dismissed without briefing—likewise conceding that Hill controls as to

their Bubble Zone claim. App.330; Dist.Ct.Dkt. 52. They thus requested

that their Bubble Zone challenge be treated the same as in Vitagliano,

and that its dismissal be certified as final under Fed.R.Civ.P. 54(b),

which provides that a court may direct final judgment as to fewer than

all claims where there is more than one claim and it “expressly

determines that there is no just reason for delay.”                App.330-31;

Dist.Ct.Dkt. 52.       Plaintiffs explained that a Rule 54(b)-certified

dismissal would avoid the undue prejudice Plaintiffs would incur if

their challenge to the Bubble Zone were effectively decided by the

Vitagliano appeal without their participation, and that it would serve

judicial economy by reducing the number of issues for the District Court

to consider in Plaintiffs’ impending preliminary injunction motion.

App.331.

     The District Court “denied” this request the following day

“without prejudice to renewal after Defendant files its response to the

Second Amended Complaint.” App.330.


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     On December 30, Plaintiffs filed a letter renewing their request

for a pre-motion conference on their motion for a preliminary

injunction, specifically seeking relief by February 22, 2023, i.e., the first

day of the Spring 40 Days Local Vigil. App.332, 336. While Plaintiffs’

Second Amended Complaint also pled a Free Exercise claim against

Chapter 425 generally, including against the Bubble Zone, Plaintiffs’

pre-motion conference letter sought preliminary injunctive relief only on

grounds of vagueness, overbreadth, content-based discrimination, and

failure of intermediate scrutiny. App.335-36; see also Judge Halpern

Pract. Stnds. 2(C) (“Arguments not raised in the pre-motion letters or

during the pre-motion conference shall be deemed waived.”).

     For its part, the County argued that Plaintiffs should not even be

permitted to move for preliminary injunction (“Plaintiffs’ request to

move for a preliminary injunction should be denied”). App.342. The

District Court, however, “granted” Plaintiffs’ “[a]pplication for a pre-

motion conference,” but set the conference for nearly three weeks later,

January 18, 2023, the day after the County filed its Answer. App.343;

Dist.Ct.Dkt. 60.




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     During the January 18 conference, the District Court stated

categorically that it would not grant injunctive relief as to the Bubble

Zone in light of its decision in Vitagliano. Specifically, the Court stated:

   “I am not going to change my mind on what I have written on

     Vitagliano, period.” SPA.9 at 9:10-11;

   “I am not going to grant an injunction in this scenario because it’s

     exactly the same as [] Vitagliano.” SPA.17 at 17:23-25;

   As to “425.31(i), I have already ruled on, and I am not going

     to give you a different ruling in this case than I did in the

     Vitagliano case.” SPA.4 at 4:9-11.

     The Court acknowledged that a summary denial of injunctive

relief as to the Bubble Zone “seems to me to be something that’s entirely

reasonable” given the Court’s view that “it’s exactly the same as

Vitagliano.” (SPA.4 at17:19-25.) The Court contemplated entering an

order “on consent” to that effect, as the County did not object. (SPA.4 at

9:8-20, 17:24-18:4.)

     Plaintiffs filed the contemplated order the next day, on January

19. App.349. Yet the Court denied the application on January 25,

“find[ing] no basis in law to bifurcate the motion for preliminary


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injunction.” SPA.25. The Court thus put Plaintiffs to the task of futilely

moving and briefing on an issue of preliminary injunctive relief the

Court had already declared to be irrevocably decided against them. Id.

     On February 3, Plaintiffs filed their Notice of Appeal “from the

District Court’s effective denial” of their “motion for preliminary

injunctive relief” as to the Bubble Zone exclusively, based on (1) the

District Court’s categorical express determination at the January 18

pre-motion conference that it would not grant injunctive relief against

the Bubble Zone given its decision in Vitagliano, and (2) its Order

denying      Plaintiffs’   consented-to    Proposed   Order   reflecting   this

determination. App.366-67.

     On February 10, Plaintiffs filed a motion for an IPA and an

expedited appeal and briefing schedule, requesting relief by February

22, 2023, the first day of the Spring 40 Days Local Vigil. No. 23-155

Doc. 14-1.

     On February 22, a motions panel of this Court denied Plaintiffs’

request for an IPA, but granted their request for expedited appeal and

briefing, ordering that Plaintiffs’ appeal “be heard in tandem with” the

Vitagliano appeal and “calendar[ed] . . . for the first available panel


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after the appeal is fully briefed.” No. 23-155 Doc. 56. Plaintiffs now

submit this brief in furtherance of that Order.



                   SUMMARY OF THE ARGUMENT

     I.     The District Court effectively denied Plaintiffs’ motion for a

preliminary injunction by (a) issuing a Rule 12(b)(6) dismissal of the

Complaint challenging only the Bubble Zone in Vitagliano, on the basis

that Hill controls; (b) repeatedly stating during its mandatory pre-

motion conference in this case, in anticipation of Plaintiffs’ preliminary

injunction motion against the Bubble Zone and additional prohibitions

of Chapter 425, that “I have already ruled on [the Bubble Zone], and I

am not going to give you a different ruling in this case than I did in the

Vitagliano case.” SPA.4 at 4:9-11; and (c) denying Plaintiffs’ consented-

to proposed order, invited by the District Court at the pre-motion

conference and consented to by opposing counsel, that would have

formally embodied the Court’s expressly irrevocable declaration at the

pre-motion conference that it would not grant a preliminary injunction

as to the Bubble Zone during the pendency of Plaintiffs’ remaining

preliminary injunction claims—despite Plaintiffs having requested a


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need for relief by February 22, 2023, the beginning of the Spring 40-day

“Local Vigil.” SPA.25.

     “The import of these actions is unmistakable,” Abbott v. Perez, 138

S. Ct. 2305, 2322 (2018), as they “effectively foreclosed” “consideration

of the merits of [plaintiffs’] injunction claim.” Carson v. American

Brands, Inc., 450 U.S. 79, 86 n.11, 89 n.12 (1981).

     The District Court’s ruling also threatens irreparable harm absent

immediate review, Abbott, 138 S. Ct. at 2319, as violations of First

Amendment rights are a quintessential irreparable harm, and

approaching individuals outside abortion facilities to sidewalk “counsel”

and “educate” about abortion is the most protected form of speech under

the First Amendment. McCullen v. Coakley, 573 U.S. 464, 489 (2014).

This is all the more so after the Supreme Court deemed Hill a

“distort[ion]” of “First Amendment doctrines.” Dobbs, 142 S. Ct. at 2276.

     Further, absent immediate appeal, whether the Bubble Zone

violates Plaintiffs’ rights will be decided in the Vitagliano appeal

without their participation, during the pendency of the already

protracted litigation on their remaining claims in the District Court.




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     Deciding Plaintiffs’ appeal will not frustrate the policy against

piecemeal appeals, because the Bubble Zone is entirely discrete from

Plaintiffs’ remaining claims, none of which would secure equivalent

injunctive relief. Indeed, deciding this appeal in tandem with Vitagliano

will avoid piecemeal appellate litigation regarding the Bubble Zone.

     II.    The    Bubble     Zone   blatantly    violates   Plaintiffs’   First

Amendment rights. As the Supreme Court has recently clarified,

government cannot facially restrict speech based on its “communicative

content”—including its substantive “purpose”—without passing strict

scrutiny. Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163 (2015). Laws

restricting speech out of concern with its emotive impact on potential

listeners must also undergo strict scrutiny. McCullen, 573 U.S. at 481.

Because Hill ignored these principles, the Supreme Court has now

rightly deemed Hill a “distort[ion]” of “First Amendment doctrines.”

Dobbs, 142 S. Ct. at 2276 & n.65.

     The Bubble Zone directly violates those doctrines. It explicitly

restricts speech “for the purpose of passing any material . . . to, or

engaging in oral protest, education, and counseling” with another

person near abortion facilities. And it does so to accomplish the


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County’s express, patently unconstitutional purpose of insulating people

from the so-called “maximum fury” “of the First Amendment.”

     The Bubble Zone easily fails intermediate, let alone strict,

scrutiny. It burdens far more speech than necessary to achieve the

County’s interest, which was assertedly to prevent trespasses inside

abortion facility buildings, and to otherwise protect clinic access.

Federal laws like the FACE Act, its New York analogue, and a state

trespassing statute, among other laws, are more narrowly tailored

means of achieving the County’s purposes. Moreover, it is never a

legitimate, let alone compelling, interest to protect individuals on public

streets and sidewalks from the emotive impact of speech on a matter of

utmost public concern like sidewalk counseling about abortion

alternatives.

     The Bubble Zone is thus flatly inconsistent with Plaintiffs’ First

Amendment rights, and the anachronism of Hill must be overruled.

                       STANDARD OF REVIEW

     This Court “review[s] the denial of a preliminary injunction for

abuse of discretion, examining a district court’s legal conclusions de

novo and factual conclusions for clear error.” Connecticut State Police


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Union v. Rovella, 36 F.4th 54, 61-62 (2d Cir), cert. denied, 143 S. Ct. 215

(2022) (emphasis in original). In First Amendment cases the reviewing

court has “a constitutional duty to conduct an independent examination

of the record as a whole, without deference to the trial court,” and “must

thus decide for [itself] whether a given course of conduct falls on the

near or far side of the line of constitutional protection.” Hurley v. Irish-

Am. Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557, 567, 115 S. Ct.

2338, 2344, 132 L. Ed. 2d 487 (1995), citing Bose Corp. v. Consumers

Union of United States, Inc., 466 U.S. 485, 499 (1984).

     To obtain a preliminary injunction against the government,

Plaintiffs must show: “(1) irreparable harm absent injunctive relief, (2)

a likelihood of success on the merits, and (3) public interest weighing in

favor of granting the injunction.” Agudath Israel of Am. v. Cuomo, 983

F.3d 620, 631 (2d Cir. 2020).


                                ARGUMENT

I.   This Court Has Jurisdiction Over Plaintiffs’ Appeal.

     This Court has jurisdiction over Plaintiffs’ interlocutory appeal

pursuant to 28 U.S.C. § 1292(a)(1) because the District Court clearly,

categorically, and irrevocably declared it would not grant Plaintiffs a


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preliminary injunction against the Bubble Zone in light of its prior

ruling in Vitagliano. The appeal is also immediately reviewable because

otherwise Plaintiffs will suffer continued irreparable harm from the

operation of the Bubble Zone, and because their rights will otherwise be

determined by the Vitagliano appeal without their participation. And

the Bubble Zone issue is entirely discrete from Plaintiffs’ remaining

challenges in the District Court, none of which, in themselves, ban

unconsented approaches to engage in quiet conversations with others

about alternatives to abortion.

        A.   The District Court effectively denied a
        preliminary injunction as to the Bubble Zone.
        “[W]here an order has the ‘practical effect’ of [] denying an

injunction, it should be treated as such for purposes of appellate

jurisdiction.” Abbott v. Perez, 138 S. Ct. 2305 (2018) As the Supreme

Court observed: “This ‘practical effect’ rule serves a valuable purpose,”

because “[i]f an interlocutory injunction is improperly [] denied, much

harm can occur before the final decision in the district court.” Id. at

2319.

        A ruling with the “practical effect” of denying an injunction is

appealable under 28 U.S.C. § 1292(a)(1) if it “threaten[s] serious and

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perhaps irreparable harm if not immediately reviewed.” Id. at 2319

(citing Carson v. American Brands, Inc., 450 U.S. 79, 83-84, 86-90

(1981) (order declining to enter consent decree enjoining racially

discriminatory     promotion      and    transfer    practices    immediately

appealable under § 1292(a)(1)). See also Volvo N. Am. Corp., v. Men’s

Int’l Pro. Tennis Council, 839 F.2d 69, 73 (2d Cir. 1998) (requiring

showing that order “can be ‘effectually challenged’ only by immediate

appeal”); but see id. at 74 (recognizing that granting or denying

preliminary injunction “which touches upon the merits of [plaintiffs’]

claim” is “immediately appealable . . . without regard to considerations

of irreparable harm”).

        As Abbott teaches, “if the availability of interlocutory review

depended on the district court’s use of the term ‘injunction’ or some

other     particular   language,     Congress’s     scheme”      for     allowing

interlocutory appeals under § 1292(a)(1) “could be frustrated,” whereas

“[t]he ‘practical effect’ inquiry prevents such manipulation.” Abbott, 138

S. Ct. at 2319. Further, “the ‘practical effect’ analysis applies to the

‘granting or denying’ of injunctions.” Id. at 2321 (quoting Gulfstream

Aerospace Corp. v. Mayacamas Corp., 485 U.S. 271, 287-88 (1988)).


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        Here, “the text” of the District Court’s rulings “and the context in

which they were issued make [] clear” this Court’s jurisdiction. Abbott,

138 S. Ct. at 714.

        As noted, in Vitagliano the District Court deemed § 425.31(i)

“materially identical” to the bubble zone upheld in Hill v. Colorado, and

thus found Hill controlling and dismissed Vitagliano’s Complaint

alleging that the Bubble Zone is a content-based regulation of speech

and fails intermediate scrutiny. App.48-49. Then, as noted, during the

preliminary injunction pre-motion conference in this case, the same

District Judge made clear that he would apply the same ruling to

Plaintiffs’ request for an injunction against the Bubble Zone, stating

that “I have already ruled on” the Bubble Zone, that “I am not going to

give you a different ruling in this case than I did in [] Vitagliano,” and

“I am not going to grant an injunction in this scenario because it’s

exactly the same as Vitagliano.” (SPA.4 at 10:9-10; 17:23-35.) Therefore

“the District Court made clear that it would not enter” an injunction

against the Bubble Zone so long as Hill survives. Carson, 450 U.S. at 89

n.12.




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     The District Court also informed Plaintiffs’ counsel during the

pre-motion conference that any hope of obtaining a decision by

February 22, which Plaintiffs had requested in their pre-motion

conference letter on December 30, is “just simply illusory.” SPA.4 at 4:6-

7. The Court thus made clear that it “did not intend to allow [plaintiffs]

to go ahead,” Abbott, 138 S. at 2322, free from the Bubble Zone by

February 22.

     Yet the Court still denied Plaintiffs’ proposed order reflecting its

unequivocal and irrevocable determination on the ground that it found

“no basis in law to bifurcate” Plaintiffs’ motion. SPA.25. “[B]ut the label

attached to an order is not dispositive,” id. at 2319, whereas “[t]he

import of [the Court’s] actions is unmistakable.” Id. at 2322.

     In reality, “the District Court necessarily decided that upon the

facts alleged” and the arguments raised in Plaintiffs’ pre-motion

conference letter,8 “plaintiffs were not entitled to an injunction.”

Carson, 450 U.S. at 86 n.11. Thus the District Court “did more than

postpone consideration of the merits of petitioners’ injunctive claim[;]


8The District Court’s Individual Practice Standards specifically provide
that “the pre-motion conference letter may be construed, at the
discretion of the Court, as the motion itself.” Supra n.8 at No. 2(C).
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[i]t effectively foreclosed such consideration.” Id. at 89 n.12 (internal

quotes omitted).

     B.     Plaintiffs will suffer irreparable harm absent
            immediate review.
     Plaintiffs will suffer, and are suffering, “serious and perhaps

irreparable harm” absent immediate appeal review. “The loss of First

Amendment freedoms, for even minimal periods of time, unquestionably

constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373

(1976). And, as the Supreme Court has now made clear, it no longer

credits Hill because that decision was a “distort[ion] [of] First

Amendment doctrines.” Dobbs, 142 S. Ct. at 2276.

     Further, because “[n]o form of speech is entitled to greater

constitutional protection” than sidewalk counseling and leafletting

about abortion alternatives, McCullen, 573 U.S. at 489, Plaintiffs’ need

for relief is especially urgent. Accord Carson, 450 U.S. at 89 (because

petitioners claimed “they would suffer irreparable injury unless they

obtained    []   injunctive   relief”   requiring   defendant    employer   to

restructure discriminatory transfer and promotional policies, “any

further delay in reviewing the propriety of the District Court’s refusal to

enter the decree might cause them serious or irreparable harm”).

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     The need for this immediate appeal is only confirmed by the fact

Plaintiffs “move[d] for” and “pursue[d] a preliminary injunction” below

and then “made [an] effort in this Court to expedite [their] appeal.”

Hulinsky v. Rutland City Police Dep’t, 221 F.3d 357, 359-61 (2d Cir.

2000) (rejecting immediate appealability of interlocutory orders

dismissing fewer than all claims where petitioner failed to take these

steps); see also Volvo, 839 F.2d at 74 (recognizing cases holding “that a

failure to pursue preliminary injunctive relief [] militates against

interlocutory appellate review”).

     As the procedural history here shows, Plaintiffs filed their original

pre-motion conference letter for a preliminary injunction on August 27,

2022, see Dist. Ct. Dkt. 7, and their renewed pre-motion letter to that

effect on December 30. See App.43. They also proposed “certification

under Rule 54(b) . . . in order to pursue an immediate appeal” of their

Bubble Zone challenge. See App.330, SPA.17 at 17:3-6. Only after the

District Court rejected these approaches, and then rejected a consented-

to order reflecting the Court’s unequivocal denial of a preliminary

injunction, did they file this appeal and their motion for an IPA and

expedited review and briefing. See No 23-155, Doc. 14-1.


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     Additionally, that a motions panel of this Court granted Plaintiffs’

motion for expedited briefing and directed that this appeal be

calendared and heard in tandem with Vitagliano by the first available

panel further confirms the necessity of immediate reviewability. No. 23-

55, Doc. 56.

     Further,      the   District   Court’s    actions   can   be    “effectually

challenged” only by immediate appeal. As a result of the District Court’s

substantial delays in adjudicating Plaintiffs request for injunctive

relief, Plaintiffs’ right to relief from the Bubble Zone would otherwise

have been decided without their participation in the Vitagliano appeal

(No. 23-30). See also Volvo, 839 F.2d at 76 (delaying appellate review of

dismissed antitrust claims until conclusion of “potentially protracted

litigation below” would be “likely to have a serious and irreparable

impact”).

     Specifically, the Clerk’s refusal to issue properly completed

summonses at the beginning of this case was a flat violation of federal

law. See Fed.R.Civ.P. 4(b); see also Police & Fire Ret. Sys. of City of

Detroit v. IndyMac MBS, Inc., 721 F.3d 95, 108 (2d Cir. 2013) (“The

Federal Rules of Civil Procedure . . . have the force [and effect] of a


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federal statute.”). And the District Court’s order purporting to “den[y]”

Plaintiffs “leave” to file a preliminary injunction motion directly

violated Second Circuit precedent. See Milltext Indus. Corp. v. Jacquard

Lace Co., 55 F.3d 34, 39 (2d Cir. 1995) (“[T]he judge may not require

that the court’s permission be secured at [a pre-motion conference]

before a party may file the motion.”). And when Plaintiffs’ renewed pre-

motion conference letter requested relief by February 22, App.332, 336,

the District Court delayed that conference for nearly three weeks.

App.343. Cf. Richardson Greenshields Sec., Inc. v. Lau, 825 F.2d 647,

652 (2d Cir. 1987) (where movant “indicates its belief that time is of the

essence, . . . the judge must either conduct a conference immediately or

permit the motion to be filed without a conference”).

     Then, even after the District Court repeatedly stated at the

already delayed pre-motion conference that it would deny injunctive

relief as to the Bubble Zone per Vitagliano, it refused to issue an order

to that effect and ruled it would only consider a motion “as to all of”

Plaintiffs’ “challenged provisions . . . once the motion is sub judice.”

SPA.25. The Court thus negated a key purpose of the pre-motion

conference—consensual reduction of issues to be decided—thereby


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turning what should have been an efficiency-promoting conference into

just another reason for delay on an issue that had already been decided

with no prospect of the Court changing its mind. Id. at 652 (“[Pre-

motion conferences] may serve the useful purpose of . . . preventing the

filing of unnecessary papers.”).

     Moreover, after taking nearly three months before never truly

deciding Plaintiffs’ motion to proceed under pseudonyms, the District

Court acknowledged at the pre-motion conference that “it’s going to

take some time and effort” to work through Plaintiffs’ remaining

challenges to Chapter 425’s welter of other speech restrictions, inspired

in large part by the vacated Griepp decision. SPA.7 at 2-3. On the other

hand, even the County admits that the patently unconstitutional

Bubble Zone is apparently DOA in the Supreme Court or even before

the “wrong” panel of this Court.

     C.    Immediate review does not frustrate, but rather
           promotes, the policy against piecemeal appeals.
     This appeal does not frustrate the policy against piecemeal

appeals, see Hulinsky, 221 F.3d at 359 (internal quotes omitted),

because Plaintiffs’ challenge to the Bubble Zone hinges discretely and

entirely on the holding in Hill, which still “directly controls” (at least

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nominally) as to the validity of the County’s materially identical Bubble

Zone. See Price v. City of Chicago, 915 F.3d 1107, 1119 (7th Cir. 2019).

     Indeed,     consideration   of   the   underlying     appeal       alongside

Vitagliano will avoid piecemeal litigation against the Bubble Zone. The

County has rightly acknowledged that in Vitagliano “the issue before

this Court is the ultimate question on the merits.” No. 23-155, Doc. 40-1

at 9. And because Plaintiffs’ preliminary injunction motion arises “in

the First Amendment context, . . . likelihood of success on the merits is

the dominant, if not the dispositive, factor.” New York Progress & Prot.

PAC v. Walsh, 733 F.3d 483, 488 (2d Cir. 2013).

     Moreover, because the 12(b)(6) dismissal in Vitagliano and the

denial of a preliminary injunction here involve overlapping factors, they

are suited to review together. See San Filippo v. United Bro. of

Carpenters & Joiners, 525 F.2d 508, 512-13 (2d Cir. 1975) (recognizing

that the overlap between a 12(b)(6) dismissal and denial of a PI allows

joint review).

     Finally, the Bubble Zone issue is certainly discrete from Plaintiffs’

other challenges. An injunction against the Bubble Zone will allow

Plaintiffs to resume peaceful approaches to passersby outside abortion


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clinics, whereas an injunction against the remaining provisions would

not provide “equivalent injunctive relief.” Volvo, 839 F.2d at 76.9

      For all the reasons stated, this Court has jurisdiction over

Plaintiffs’ appeal.



9  For same reasons, Plaintiffs have standing to obtain an injunction
against the Bubble Zone during the pendency of their remaining
challenges in the District Court. Unlike the other challenged provisions,
the Bubble Zone explicitly restricts Plaintiffs from approaching others
to engage in unobstructive, quiet, and face-to-face conversations that
“educate” and “counsel” about abortion alternatives, and to distribute
literature with more information about these options, without first
obtaining the other’s express consent. See App.210-11. This injury is
thus “fairly traceable” to the Bubble Zone, and would actually (let alone
“likely”) be redressed by Plaintiffs’ requested injunction in this
appeal, Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992), even
if Plaintiffs must remain vigilant to avoid violating the other challenged
provisions of Chapter 425 so long as they remain in place.
    Additionally, Plaintiffs’ years-long practice of engaging in sidewalk
counseling, and their intent to continue doing so again when legal,
App.88 ¶91(a)-(d), App.90 ¶96, plainly establishes the requisite injury-
in -fact under the same principles described in the Plaintiff-Appellant’s
Opening Brief in Vitagliano. See No. 23-30, Doc. 40 at 20-25. Indeed,
neither the County nor the District Court has disputed Hulinsky and
Molinelli’s standing to challenge the Bubble Zone. See SPA.10 at 10:23-
24 (District Court stating “you have two plaintiffs who clearly have
standing”). Because at least one plaintiff has standing “to maintain the
action,” this Court “ha[s] no occasion to decide the standing of the
[organizational plaintiffs].” Carey v. Population Servs. Int’l, 431 U.S.
678, 682 (1977).
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II.   Plaintiffs Satisfy the Factors for Obtaining a Preliminary
      Injunction Against Enforcement of the Bubble Zone.
      A.    Plaintiffs are ultimately likely to succeed on the
            merits.
      The Bubble Zone explicitly restricts speech based on content,

discriminating against speech made for a certain substantive “purpose,”

based on legislators’ improper interest in the emotive impact of pro-life

sidewalk counseling. It manifestly fails strict scrutiny. But even if it

were content neutral, it fails intermediate scrutiny by restricting far

more speech than necessary for the purported protection of access to

abortion facilities.

            1.     The Bubble Zone expressly regulates
                   specially protected speech based on content.

      Public rights-of-way have, from “time out of mind, [] been used for

the purposes of assembly, communicating thoughts between citizens,

and discussing public questions.” Hague v. Comm. for Indus. Org., 307

U.S. 496, 515 (1939). And “speech on public issues . . . is entitled to

special protection.” Snyder v. Phelps, 562 U.S. 443, 452 (2011) (internal

quotes omitted).

      But in Hill, the Supreme Court upheld Colorado’s eight-foot

bubble zone despite its flagrant disregard of these values. The Court


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deemed the law content-neutral because (a) it “was not adopted because

of disagreement with the message the speech conveys,” and (b) does not

restrict speech based on viewpoint or “subject matter,” even if it

required a supposedly “cursory examination” of speech to determine if it

was for the prohibited “purpose of . . . engaging in oral protest,

education, or counseling.” Hill, 530 U.S. at 719-20, 722-23. Hill also

held that the bubble zone satisfied intermediate scrutiny because it was

narrowly tailored to protect the supposed “right to be let alone.” Id. at

716, 726-30.

     In McCullen v. Coakley, however, the Supreme Court declared

that public streets and sidewalks “remain one of the few places where a

speaker can be confident that he is not simply preaching to the choir”

and “a listener often encounters speech he might otherwise tune out,”

which “is a virtue, not a vice.” 573 U.S. at 478. McCullen recognized

that a speech restriction is content-based “if it require[s] enforcement

authorities to examine the content . . . to determine whether a violation

has occurred,” or if it is concerned with the “undesirable effects that

arise from . . . listeners’ reactions to speech,” such as “caus[ing] offense

or ma[king] listeners uncomfortable” outside abortion clinics. Id. at 481.


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The Court went on to find the buffer zone content-neutral only because

it governed where people spoke, not what they said. Id. at 479-80.

     But McCullen nonetheless held that the zone failed intermediate

scrutiny as it “compromise[d] petitioners’ ability to initiate the close,

personal conversations that they view as essential to ‘sidewalk

counseling’,” and “made it substantially more difficult” to

“distribute literature to arriving patients,” including “as drivers

turn into the parking lots.” Id. at 488. McCullen recognized that

“handing out leaflets [on] a politically controversial viewpoint is the

essence of First Amendment expression,” and that sidewalk counselors

“seek not merely to express their opposition to abortion, but to

inform women of various alternatives and to provide help in

pursuing them.” Id. at 488-89. The government failed to show that

draconian burdens on this speech were necessary to protect public

safety outside abortion clinics, in part because “existing local

ordinances,” “general criminal statutes” and targeted injunctions

already furthered that interest. Id. at 490-494.

     One year later, the Supreme Court further clarified that a speech

restriction “is content based if [it] applies to particular speech because


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of the topic discussed or the idea or message expressed.” Reed v. Town

of Gilbert, Ariz., 576 U.S. 155, 163 (2015). This “requires a court to

consider whether a regulation of speech ‘on its face’ draws distinctions

based on the message a speaker conveys,” whether by its “subject

matter” or its “function or purpose.” Id. at 163-164. The Court thus

struck down a sign ordinance facially distinguishing “Temporary

Directional Signs,” “Political Signs,” and “Ideological Signs,” and

rebuked the lower court’s reliance “on this Court’s decision in Hill v.

Colorado” in finding the law content-neutral merely because the town

“did not adopt its regulation [] because it disagreed with the message

conveyed.” Id. at 162-63, 164-72. The Supreme Court clarified that it “is

incorrect” that a benign governmental purpose is relevant “when a law

is content based on its face.” Id. at 166-67.

     Accordingly, as the Seventh Circuit has since observed, “Hill is

incompatible with current First Amendment doctrine as explained in

Reed and McCullen.” Price, 915 F.3d at 1117.

     Not to the contrary is City of Austin, Texas v. Reagan Nat’l Advert.

of Austin, LLC, 142 S. Ct. 1464 (2022), upholding an ordinance

distinguishing between on- and off-premises signs as content-neutral


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even though it requires enforcers to read signs to determine whether

they direct viewers to off-premises locations. The Court held that the

ordinance does “not single out any topic or subject matter for

differential treatment,” but requires review of a sign’s message “only to

the extent that it informs the sign’s relative location,” while its

“substantive message is irrelevant.” See id. at 1472-73. In response to

Justice Thomas’s dissent (joined by Justices Barrett and Gorsuch) that

the majority “risk[s] resuscitating Hill,” id. at 1492 (Thomas, J.,

dissenting), the majority clarified that “we do not . . . ‘resuscitat[e]’ a

decision we do not cite.” Id. at 1475.

     More recently, as noted above, Dobbs expressly declared Hill was

a “distort[ion] [of] First Amendment doctrines.” Dobbs, 142 S. Ct. at

2276 and n.65. By pinpoint-citing the Hill dissents, the Court made it

perfectly clear that Hill is not merely “incompatible with current First

Amendment doctrine,” Price, 915 F.3d at 1117, but that Hill itself is an

“assault upon [sidewalk counselors’] right[s]” protected by the First

Amendment. Hill, 530 U.S. at 741-42 (Scalia, J., dissenting).10


10 Plaintiffs acknowledge that if an otherwise directly applicable case
“rest[s] on reasons rejected in some other line of decisions, Courts of
Appeals should follow the case which directly controls, leaving to [the
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     Therefore, the County’s criminalization of any “approach” to a

person within eight feet “for the purpose of . . . engaging in oral protest,

education, or counseling” without the person’s affirmative consent

expressly restricts speech based on its substantive “purpose” and so is

blatantly content-based. City of Austin, 142 S. Ct. at 1472-73. This is

especially true given legislators’ overt concerns with prohibiting what

they viewed as “Trojan Horse gifts” from sidewalk counselors and

shielding people from the emotive impact of pro-life speech, which

another legislator called the “maximum fury of the First Amendment.”

App.97 ¶¶120(b).11 Accordingly, the Bubble Zone must undergo strict

scrutiny.

             2.    The Bubble Zone fails both strict and
                   intermediate scrutiny.

     Strict scrutiny requires narrow tailoring in furtherance of a

compelling interest. Brown v. Ent. Merchants Ass’n, 564 U.S. 786, 799

(2011). “The curtailment of free speech must be actually necessary to the


Supreme] Court the prerogative of overruling [its] own decisions.”
Agostini v. Felton, 521 U.S. 203, 237 (1997). Notably, Hill is
undermined not only by rejection of its reasoning in later decisions, but
also by the Supreme Court’s obvious rejection of Hill itself, thus
illuminating the urgency of this appeal and the egregiousness of the
harm the Bubble Zone is currently inflicting on Plaintiffs.
11 Joint Meeting, supra n.4 (at 1:11:55).

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solution.” Id. Even intermediate scrutiny requires government to

“show[] it seriously undertook to address the problem with less

intrusive tools” and “that it considered different methods that other

jurisdictions have found effective.” McCullen, 573 U.S. at 494.

     The Bubble Zone resoundingly flunks these tests. Indeed, it is

expressly predicated on the legislators’ finding that “current law does

not adequately protect reproductive health care facilities,” staff, and

patients and that there is “a need for clear legislative boundaries” in

connection with law enforcement. App.196.             But the Legislation

Committee cited only the trespass incident in November 2021, noted

above. Id.; App.59-60 ¶¶2-3, 93 ¶107. It is manifestly true that

restricting Plaintiffs from peacefully approaching others on the public

right-of-way to distribute a leaflet and or counsel on abortion

alternatives plainly “burden[s] substantially more speech than is

necessary” to further the purported interest in preventing clinic

trespasses, McCullen, 573 U.S. at 486 (internal quotes omitted), and is

not “actually necessary to the solution,” Brown, 564 U.S. at 799.

     As to the County’s asserted need for “clear legislative boundaries,”

App.196, the Supreme Court has rejected an eerily similar assertion in


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a similar context, holding that “the prime objective of the First

Amendment is not efficiency” for law enforcement in ensuring order

outside of abortion facilities. McCullen, 573 U.S. at 495.

     The     Legislation    Committee       further   claimed   that     “limited

prosecutorial avenues are available under current law,” noting that the

County District Attorney did not invoke the New York State Clinic

Access Act, N.Y. Penal L. § 240.70-.71, against the trespassers.

App.196. Yet that is exactly the kind of law the Supreme Court stated is

a less intrusive means of “combating deliberate obstruction of clinic

entrances.” Id. at 490-91.

     As to the Committee’s unsubstantiated claim that on the day in

question “several protestors swarmed outside the facility, which

disrupted access to the facility and diverted staff resources away from

their patient care responsibilities,” App.197, the preferential option of

“targeted injunctions as alternatives to broad, prophylactic measures”

would adequately restrict such conduct, not to mention “existing local

ordinances” and “generic criminal statutes.” McCullen, 573 U.S. at 492;

see 18 U.S.C. 248(c)(1) (authorizing private causes of action to enjoin,

among other things, physically obstructing access to reproductive


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health facilities); N.Y.Penal Law § 140.10 (prohibiting unauthorized

entrance onto the property of another on pain of criminal and civil

penalties, including injunctions). Instead, the Bubble Zone “prohibit[s] a

vast amount of speech that cannot possibly be thought to correspond to

that evil.” Hill, 530 U.S. at 755 (Scalia, J., dissenting).

      While the remaining provisions of Chapter 425 are possibly also

lesser restrictive means “in principle,” accord McCullen, 573 U.S. at 491

n.8 and accompanying text, Plaintiffs disagree with the Plaintiff-

Appellant in Vitagliano that § 425.31(a), (e), and (f)           are actually

substantially similar to the prohibitions of the FACE Act and N.Y.

Penal Law § 240.70, see No. 23-30 Doc. 40 at 51, in part because §

425.21(h) defines “physically obstruct or block” to include a much

broader array of activity than simply rendering clinic access

“impassable” or “unreasonably difficult or hazardous,” as the parallel

term is defined in 18 U.S.C. § 248(d) and N.Y. Penal Law § 240.70(3)(d).

Nor is Chapter 425’s “follow and harass” provision an adequate less

restrictive alternative, cf. No. 23-30 at 52, in part because “harass” is

defined to include continued speech “after an … implied request to

cease has been made.” § 425.21(c); see also McCullen, 573 U.S. at 500


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(Scalia, J., dissenting) (“It seems to me far from certain that First

Amendment rights can be imperiled by threatening jail time (only at

‘reproductive health care faclit[ies],’ of course) for so vague an offense as

“follow[ing] and harass[ing].”) (alterations in original).

     Indeed, given the County’s express reliance on Griepp, its

resulting “souped up,” turbo-charged version of existing laws threatens

to serve as “an erroneous application of F.A.C.E.” that “impinges First

Amendment Activity.” New York ex rel. Spitzer v. Operation Rescue

Nat’l, 273 F.3d 184, 195 (2d Cir. 2001); see also Griepp, 991 F.3d at 142

(Livingston, C.J., dissenting). Because this appeal is being considered

“in tandem with” Vitagliano, Doc. 56, and these other provisions of

Chapter 425 are not “unchallenged,” McCullen, 573 U.S. at 490-91, this

Court should not rely on them as anything more than “in principle”

lesser restrictive means.

     However, Plaintiffs do agree with the Plaintiff-Appellant in

Vitagliano that the County’s self-serving statement in this case that

“there is no material difference between Chapter 425’s prohibitions and

definitions and the FACE’s (or New York State law’s) prohibitions and

definitions,” App.342, shows that it did not “seriously undert[ake] to


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address the problem with less intrusive means.” McCullen, 573 U.S. at

494. That is, from the County’s perspective, the other restrictions of

Chapter 425 are wholly gratuitous and not “actually necessary to the

solution.” Brown, 564 U.S. at 799.

     Moreover, it is never a legitimate, let alone compelling, interest

for the government to “prohibit the expression of an idea simply because

society,” or here, the County, “finds the idea itself offensive or

disagreeable.” Texas v. Johnson, 491 U.S. 397, 414 (1989).

     Finally, the Bubble Zone also fails intermediate scrutiny because

there is no evidence that these Plaintiffs or other pro-life sidewalk

advocates have violated any law in connection with their speech. (Ex. 1

¶109.) Most instructive on this point is Schenck v. Pro-Choice Network

of Western New York, 519 U.S 357 (1997). There the Supreme Court,

applying only intermediate scrutiny, upheld an injunctive (not

statutory) 15-foot buffer-zone around clinic doors and driveways against

particular defendants who had engaged in physical obstruction, but

reversed the injunction’s prohibition of the same defendants’ non-

obstructive leafletting and counselling. Schenck, 519 U.S. at 380-81.

That distinction alone dooms the Bubble Zone’s prophylactic content-


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based restrictions on innocent parties under intermediate, let alone

strict, scrutiny.

      Therefore, the Bubble Zone cannot survive strict or intermediate

scrutiny.

      B.     Irreparable Harm.

      As noted, “[t]he loss of First Amendment freedoms . . .

unquestionably constitutes irreparable injury.” Elrod, 427 U.S. at 373.

The bubble zone has “compromise[d] [Plaintiffs’] ability to initiate close,

personal conversations that they view as essential to sidewalk

counseling,” and they can no longer effectively “offer literature as

drivers turn into the parking lots.” McCullen, 573 U.S. at 487-88.

App.328 ¶¶12-15.) To avoid a criminalized “approach” under the law’s

hyper-technical definition of “eight feet” (§ 425.21(b)), Plaintiffs would

have to stand still, arms rigidly outstretched offering literature, in

hopes that a patient or vehicle passing within eight feet would engage

them (§ 425.21(a)).        Thus Plaintiffs, to avoid fines and jail time,

reasonably stand away from the driveway and street entrance at the

subject locations. App.328 ¶14; App.88 ¶91(a)-(b).)




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       Finally, after the Supreme Court’s October 2021 term, during

which it declared that “we do not . . . resuscitate [“Hill”],” City of Austin,

142 S. Ct. at 1475 (quotations and alteration omitted), and that Hill

was a “distort[ion] [of] First Amendment doctrines,” Dobbs, 142 S. Ct. at

2276 and n.65, it cannot seriously be disputed that the Bubble Zone

blatantly violates the First Amendment and is thus causing Plaintiffs’

irreparable harm. And “irreparable harm is the single most important

pre-requisite for the issuance of a preliminary injunction.” Rodriguez ex

rel. Rodriguez v. DeBuono, 175 F.3d 227, 233-34 (2d Cir. 1999) (cleaned

up).

       As Plaintiffs are clearly suffering irreparable harm to “vital First

Amendment interests,” McCullen, 573 U.S. at 498, they are in need of

preliminary injunctive relief.

       C.    Balance of Harms and Public Interest.

       The balance of harms and the public interest “merge when the

Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435

(2009). It almost goes without saying that an injunction against

enforcement of the Bubble Zone would allow Plaintiffs to resume

approaching individuals and vehicles outside the clinics to distribute


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pro-life leaflets and sidewalk counsel, while still allowing the County to

protect clinic access and punish trespassers. And “securing First

Amendment rights is in the public interest.” New York Progress & Prot.

PAC, 733 F.3d at 488.

                             CONCLUSION

     For the foregoing reasons, this Court has jurisdiction to decide

this appeal. Hill should be overruled by the Supreme Court and the

Bubble Zone enjoined under the clear requirements of the First

Amendment as reaffirmed by the Supreme Court post-Hill.

                            Respectfully submitted,



  /s/ Christopher Ferrara                 /s/ Michael McHale
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                                     /s/ Michael McHale




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                                                                   1


 1 UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
 2
   ------------------------------------------x
 3 40 DAYS FOR LIFE, a nonprofit corporation
   of the State of Texas,
 4                                         22 CV 695(PMH)
   WHITE PLAINS 40 DAYS FOR LIFE, an       PRE-MOTION CONFERENCE
 5 unincorporated association of the
   State of New York,
 6
   OKSANA HULINSKY, and
 7
   REGINA JOY CREARY MOLINELLI (formerly
 8 suing as "Sally Roe"),

 9                             Plaintiffs,

10       -vs-

11 COUNTY OF WESTCHESTER,

12                            Defendant.
     ------------------------------------------x
13
                                     United States Courthouse
14                                   White Plains, New York
                                     January 18, 2023
15
                       ** VIA TELECONFERENCE **
16
     Before, THE HONORABLE PHILIP M. HALPERN, District Judge
17
     A P P E A R A N C E S:
18
     THOMAS MORE SOCIETY
19        Attorneys for Plaintiffs
          148-29 Cross Island Parkway
20        Whitestone, New York 11357
     BY: CHRISTOPHER A. FERRARA
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     THOMAS MORE SOCIETY
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          Suite 110
23        Omaha, Nebraska 68114
     BY: MICHAEL McHALE
24
     *Proceedings recorded via digital recording device*
25
     A P P E A R A N C E S:   (CONT.)

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                                                                   2


 1
   WESTCHESTER COUNTY ATTORNEY'S OFFICE
 2      Attorneys for Defendant
        148 Martine Avenue
 3      Room 600
        White Plains, New York 10601
 4 BY: JOHN NONNA
        SHAWNA C. MacLEOD
 5      ALIDA L. MARCOS
        JUSTIN R. ADIN
 6

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 1             THE DEPUTY CLERK:    In the matter of Hulinsky against

 2 the County of Westchester.

 3             Would the plaintiffs please note your appearance?

 4             MR. FERRARA:   Christopher A. Ferrara for the

 5 plaintiffs.

 6             MR. McHALE:    Michael G. McHale for the plaintiffs.

 7             THE DEPUTY CLERK:    Defense counsel, please note your

 8 appearance.

 9             MR. NONNA:    John Nonna, Westchester County Attorney.

10             MS. MacLEOD:   Shawna MacLeod, Senior Assistant County

11 Attorney for the County of Westchester.

12             MS. MARCOS:    Alida Marcos.

13             MR. ADIN:    Justin Adin, Deputy County Attorney.

14             MS. MARCOS:    Alida Marcos, Assistant County Attorney.

15             THE COURT:    All right.   Counsel, good morning.

16             (All counsel respond)

17             THE COURT:    All right.   I want to be practical here

18 first and see if we can't try to get to the gravamen here.

19             Mr. Ferrara, I have this sense -- I may be wrong, and

20 you can correct me -- but my sense of this is you would like to

21 get past me and get to the Second Circuit so that you're in line

22 with the other case, Vitagliano, and can pressure issues there.

23 Am I right or wrong about that?

24             MR. FERRARA:   You're absolutely right, Your Honor.

25             THE COURT:    All right.   So that's a practical point,


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 1 right?

 2              MR. FERRARA:    Yes.

 3              THE COURT:   And I guess the other point that I want to

 4 make as a practical matter is, assuming I give you all due speed

 5 for your application, which I'm frankly not sure is necessary,

 6 but assuming I did that, you know, February 22nd is illusory.

 7 It's just simply illusory.          You've got, as I see it, two, four,

 8 six, eight separate attacks on this statute, although one, (i),

 9 425.31(i), I have already ruled on, and I am not going to give

10 you a different ruling in this case than I did in the Vitagliano

11 case.      So you really have seven broad-based attacks.     Okay.

12              Mr. Nonna, let me ask you a practical question.      If I

13 asked you to tell me one way or another, would you be willing,

14 during the pendency of this, to simply agree as a matter of

15 course -- as to these plaintiffs and these plaintiffs only --

16 simply to have a standstill agreement with respect to (a), (c),

17 (d), (e), (f), (g) and (h)?         In other words, nobody is doing

18 anything except saying, during the pendency of this action, the

19 County will not seek to enforce as to these plaintiffs those

20 separate provisions:        (a) and (c) through (g), (c) through (h);

21 meaning (b) and (i) would still be -- because (b) is not at

22 issue in this case, and (i) I have already ruled on; is there a

23 practical solution here that we can engage to save some time and

24 brief writing and whatnot?

25              MR. NONNA:   That's a very interesting question that I


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 1 would like to -- that off the top of my head, this is how I

 2 would address it, Judge, to be honest with you.          I think that

 3 many of these provisions that they are attacking that prohibit

 4 blocking and obstructing are all very similar to the FACE Act,

 5 the federal act which -- whose constitutionality has been

 6 upheld, and with our definition they make it very clear that

 7 these provisions are not vague.

 8             So the one that is -- that is a new issue in a sense,

 9 and we do not dispute that it's -- that the Griepp case has been

10 overruled or been vacated, so it doesn't deal with the

11 constitutionality is (c).     I think the most we can agree to at

12 this point is, pending the resolution of their preliminary

13 injunction motion, we would agree to do a standstill on Section

14 (c), which is the knowingly follow and harass provision.

15 Because I think the others -- leaving aside (i), which you have

16 ruled upon, Your Honor has already ruled upon -- the others are

17 all very similar, if not the same as what's in the FACE Act, and

18 I don't think we can agree to standstill on not enforcing any

19 efforts to physically obstruct, block --

20             THE COURT:   Well, that's (b).     (B) is not at issue in

21 my case.    So (b) is not going to be the subject of any

22 application by the plaintiff because they have no challenge to

23 (b).

24             MR. NONNA:   Yes, but they are challenging (d), (e),

25 (e) -- (d), (e), (f) --


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 1             THE COURT:   (G) and (h).

 2             MR. NONNA:   (D), (e), (f), and (h), which I think are

 3 similar to what's in the FACE Act.

 4             THE COURT:   I see.

 5             MR. NONNA:   And therefore, I don't think we can agree

 6 to stand still on prohibiting that type of activity.

 7             But with respect to the follow and harass provision,

 8 (c), Rule 425.31(c), that is one that, you know, I think is a

 9 relatively novel issue.     It's not -- it's modeled after a New

10 York City law, which we agree was originally ruled

11 constitutional in Griepp, but that decision was vacated.          So

12 that's an open issue, and we would agree that that should -- we

13 would stand still on enforcing that provision.

14             THE COURT:   Yeah.    Okay.

15             Mr. Ferrara, how -- how is it -- I mean, you can't

16 have everything and get to the Second Circuit, you know?          And I

17 was thinking that because I -- my sense of this has been, you

18 really just want to -- you don't want somebody out ahead of you

19 on this issue in the Second Circuit.           And so I was trying to

20 think of a way to -- in other words, get you to that place

21 without so much as a big to-do.

22             One way, of course, would be for you to drop all of

23 these claims presently except (i), and I can tell you that the

24 ruling would be the same in your Section (i) theory that I have

25 already ruled upon.      If that doesn't work really, my concern


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 1 would be there is no way for me to unleash you and get you to

 2 the Second Circuit because I am happy to address the issues you

 3 present but, you know, it's going to take some time and effort

 4 at my end.    I don't even know if I need a hearing here.         I

 5 haven't thought about that.

 6             I do have some fundamental questions that I want to

 7 talk about once we get through this piece, but is there any

 8 wisdom for you in doing that?

 9             MR. FERRARA:    I would say no, Your Honor, because of

10 the actual chilling effect that the other restrictions have, and

11 these definitions go well beyond existing statutes.         The

12 definition of "physically obstruct or block," the definition of

13 "interfere with," the definition of "any course of conduct," all

14 of these definitions are far more extensive in terms of what

15 they restrict than what you see in FACE.         For example, FACE

16 would prohibit rendering the premises impassible or making it

17 unreasonably difficult or hazardous to access the premises

18 whereas the definition here is any hindrance or impediment, and

19 also "interference" is defined as to delay or impede by

20 deceptive means or otherwise.

21             This is a complete novelty.       We don't see this in any

22 existing statute.     I don't know what they mean by "deceptive

23 means or otherwise."       And the effect of these provisions has

24 been that the clients, Ms. Molinelli, for example,

25 Mrs. Molinelli has ceased her activity entirely.         Mrs. Hulinsky


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 1 has remained across the street unless there is another pro-life

 2 activist on the same side of the street as the clinic, but even

 3 in that case she stays far away from the only place really where

 4 there is effective advocacy, which is the doorway entrance on

 5 the sidewalk.

 6             So there's been actual chill because of these

 7 provisions, and as they -- as the County counsel himself

 8 observed, even if you observe the bubble zone restriction, and I

 9 am quoting, "other provisions might kick in."            And that's the

10 way this statute was designed.      Even if you observe the bubble

11 zone, you are inside another zone, the 25-foot no-follow-and-

12 harass zone.    Interference embraces the entire area around the

13 clinic, and interference is very loosely defined.

14             So as an attorney advising clients on possible

15 exposure under this statute, I would have to say, stay away

16 until we can get this clarified and obtain appropriate

17 injunctive relief.     So I can't just drop the other claims.

18             MR. McHALE:   Your Honor, this is Michael McHale.           If I

19 can say something with -- for the plaintiffs.            Our research

20 shows -- and maybe correct us if we are wrong about this -- but

21 a denial of our motion for preliminary injunction in a piecemeal

22 fashion just on the bubble zone subdivision (i) we think would

23 be appealable while the rest of the motion plays itself out, and

24 then another option is just a kind of sua sponte dismissal, and

25 then under Civil Rule 54(b), it's possible to effectively


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 1 certify that as final because it's a discrete issue, and then

 2 that's another way we could take that issue up and join with

 3 Vitagliano.        So those are two of our ideas given --

 4              THE COURT:    Well, unfortunately, I am your judge or

 5 fortunately, I am your judge.          I'm not your partner in crime

 6 here.      So --

 7              MR. McHALE:    Yes.

 8              THE COURT:    -- I do not -- you know, I can be very

 9 clear and maybe this will help you if you frame it to me

10 properly.     I am not going to change my mind on what I have

11 written on Vitagliano, period.          So if while this motion is

12 pending that would assist in getting you some procedural

13 position, I have no interest in getting in the way of it.              It's

14 frankly none of my concern.         I'm interested in only getting your

15 motion in and adjudicated.         But if that somehow helps, you know,

16 or something that I can easily do to get you into the Second

17 Circuit, so be it.        I don't think Mr. Nonna cares one way or the

18 other.

19              Am I right about that, Mr. Nonna?

20              MR. NONNA:    No, we don't care one way or the other.         I

21 mean, this is an internecine fight between two sets of

22 plaintiffs' counsel who want to get to the Supreme Court and get

23 credit for hopefully getting Hill overturned.               So we are not in

24 that fight.        You know, we are just trying to sustain our law.        I

25 won't address any of the merits that --


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 1             THE COURT:   No, I got.    All right.

 2             (Cross-talk)

 3             THE COURT:   If there is a way to engineer that, you

 4 know, I will consider it.

 5             I want to talk about 40, the Texas entity, for a

 6 minute.    Why do we need them?    Why do they have standing?   How

 7 do they fit into this scenario?

 8             MR. FERRARA:   Your Honor, the cases we'll cite in the

 9 brief will show that organizational standing arises when the

10 mission of an organization is affected by a statute that

11 restricts First Amendment activity, and the indicia of standing

12 would be that the organization has devoted resources to

13 challenging the statute, which is the case here; they have

14 diverted resources to the investigation of the statute, to

15 locating witnesses who can testify about the effects on the

16 local vigils, which are the way that this organization

17 accomplishes its mission.     So --

18             (Cross-talk)

19             THE COURT:   I mean, I am going to react for you.   Your

20 argument is well in line with what I anticipated it to be, but

21 it's very tentative, just so you know.

22             The other issue I have concerning -- and frankly,

23 40 Days for Life, you have other plaintiffs who clearly have

24 standing, so I don't know -- I don't know why we need to be

25 distracted by 40 Days for Life but, you know, I will deal with


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 1 it.

 2             The other thing that is of concern to me is, you know,

 3 this business about a credible threat.        I haven't -- I don't

 4 recall -- I recall getting your TRO application, and somebody --

 5 one of the plaintiffs indicating that they needed more training

 6 or some such.    I don't recall which plaintiff it was, but talk

 7 to me a little bit about credible threat here that the plaintiff

 8 believes exists.

 9             MR. FERRARA:   Our position is that this Chapter 425

10 was designed precisely with the Griepp decision in view.        In

11 fact, the follow and harass provision, which prohibits any

12 course of conduct, any act or conduct that continues after an

13 implied or express request to cease is taken directly from

14 Griepp.    In the Griepp case, the attorney general made maximal

15 demands on the application of the New York City version of FACE

16 such that the court concluded on appeal, reversing the District

17 Court, that even de minimis contact, de minimis interference, a

18 delay of either a second or two on the sidewalk triggered a

19 violation of the New York statute.

20             Now, the County claims it's basing its Chapter 425 on

21 the New York statute whose constitutionality is dubious at best.

22 So if you look at the Griepp decision, you will see that what we

23 have here is a situation involving numerous hair-trigger

24 provisions that are designed to keep protestors on the sidewalk

25 away from people approaching or leaving the clinic.


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 1             If you look at the legislative history that we pleaded

 2 in the complaint, there are numerous references to a gauntlet of

 3 intimidation, the full fury of the First Amendment being

 4 unacceptable to these legislators, and there is no fit between

 5 this statute and the supposed justification for its enactment,

 6 which was the trespass incident by the Red Rose Rescue movement.

 7 This statute has nothing to do with trespassing.         It has

 8 everything to do with limiting sidewalk advocacy with the same

 9 effect as seen in the original appellate decision in Griepp, in

10 other words, a whole series of concentric standards for

11 regulating speech, which involves hair-

12 trigger liability.       So that's what we're claiming in this case.

13             There is a credible threat of enforcement if you look

14 at the way the New York statute was enforced in the Griepp case,

15 on which the legislators expressly relied repeatedly, and it's

16 just quoted almost verbatim in 425(i) -- 425.31(i).

17             THE COURT:    Yeah.    Okay.   Is there an instinct here,

18 Mr. Nonna, that we need a hearing on the factual disputes that I

19 need to resolve before I can get to the merits of the

20 preliminary injunction?

21             MR. NONNA:    We are thinking of the fact we may want a

22 hearing to present evidence that, in fact, protestors, after

23 this law has passed, have been appearing at reproductive health

24 facilities in Westchester and protesting and able to stand their

25 ground whilst people walk by and hold up signs and hand out


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 1 leaflets as people walk by without approaching them.        They can

 2 stand within any of these zones and hand out leaflets and hold

 3 up signs and protest.

 4             THE COURT:    All right.   Okay.   So with respect to the

 5 plaintiffs' application, let me say a couple of things:         First

 6 of all, I am a burden-of-proof person.         I have no interest in

 7 the 90-page complaint that is a combination of your evidence and

 8 your elements of the claims for relief.        That, to me, is just

 9 distracting.    So please, when you're making your application,

10 stick to the burden of proof.       Stick to the elements of this

11 case, this claim, and give me your very best on the case law

12 associated with whatever it is you want me to focus on.         Okay?

13             I don't have an interest in wandering through,

14 tiptoeing through.       The page limitations are strict.   I'm not

15 changing them.    Work within the page limitations.      And once I

16 get everything, and I get it digested, I will figure out whether

17 and to what extent I need a hearing on the facts.        So that's one

18 issue.

19             If -- and I understand it to be that you -- defendant

20 has no objection, and the plaintiff has a proposal, an idea with

21 respect to the Vitagliano ruling that would be applicable here.

22 I'm certainly happy to look at whatever you suggest.        I'm not

23 committing to a course of conduct, but if, in fact, there is no

24 objection, and in that sense we are simply saying to one

25 another, Judge, what you did in Vitagliano you are going to do


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 1 here so would you please do it here now so that we can advance

 2 the ball in the Second Circuit; if that's something I can do, I

 3 certainly will look at it.       Okay?   But don't -- you know, let's

 4 not make it a -- don't get distracted by that.

 5             With respect to the affidavits, limit the affidavits

 6 to that which I need to rule on.         Okay?   If there is a -- if

 7 there is a credible threat, tell me about it.            If 40DFL has

 8 standing here because I am assuming that in order for them to

 9 have standing, they have to actually do something in White

10 Plains rather than just be a national organization that does

11 things nationally, so you will tell me about those things.

12             And I will get to this as quickly as I can.

13             So tell me, Mr. Ferrara, Mr. McHale, how much time do

14 you need to -- and I think what we will do is we will bundle

15 this motion, meaning you will file everything on the reply date.

16 How much time do you need to serve your motion?

17             MR. FERRARA:   I would say within a week we can file

18 our motion with the supporting brief.          In the terms of

19 affidavits, Your Honor, we believe that the verified complaint

20 provides the factual allegations that you need to determine the

21 motion.

22             THE COURT:   Okay.

23             MR. FERRARA:   So perhaps we will have a supplemental

24 affidavit.    I am not sure about that.

25             THE COURT:   Well, you do whatever you think is


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 1 appropriate.    Of course --

 2             MR. FERRARA:   Sure.

 3             THE COURT:    -- I have to consider your complaint, and

 4 I will.    My comment, though, is you know, a complaint and

 5 evidence are two different things and serve two different

 6 purposes, and jamming your evidence into a complaint doesn't

 7 really help the cause, frankly.         All right.

 8             So you are saying -- today is what, the 18th?          So you

 9 can serve your motion by the 25th of January; is that it?

10             MR. FERRARA:   Michael, is that okay with you?

11             MR. McHALE:    Yup.    That's perfect.

12             THE COURT:    All right.     So you will serve your motion.

13             Mr. Nonna, how much time to oppose?

14             MR. NONNA:    Three weeks, please?

15             THE COURT:    The 25th.     That would be the 15th of

16 February to oppose.

17             And how much time to reply?

18             MR. FERRARA:   Oh, I would say a week, Michael?

19             MR. McHALE:    Can we say two weeks, and then we will

20 try to get it in a week?

21             MR. FERRARA:   Okay.

22             THE COURT:    Sure.    Of course.      March 1 to reply.

23             Now, what I would ask you to do is:          Serve your papers

24 on July -- July -- on January 25th.             Serve your opposition on

25 February 15th.    Serve your reply on March 1, and on March 1 file


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 1 your motion papers and your reply papers, and file your

 2 opposition, Mr. Nonna, on March 1.       That way, for me, the

 3 statistical clock begins when, in fact, I can adjudicate the

 4 motion and not on the day the first piece of paper is filed.

 5 All right?

 6             MR. FERRARA:   Your Honor, on the issue of 425.31(i),

 7 could we submit to Your Honor a form of order that would suffice

 8 for launching this on an appellate basis since no one is

 9 objecting?

10             THE COURT:   Well, here is the thing, here is the

11 thing:     I have been around the block for more than 40 years or

12 so --

13             MR. FERRARA:   Me, too.

14             THE COURT:   -- of doing this.     You are creating a

15 novel issue for me in the sense that I don't want to be

16 criticized because I recognize your earnest desire to get into

17 the Second Circuit and beyond.        So you need to come up with a

18 pathway.    Mr. Nonna is indicating he has no objection to me

19 signing off on (i).      I just don't know -- I don't know how to

20 procedurally do that.      So if you can figure that out, you can

21 certainly, based on our conversation, submit a proposed order,

22 but you are going to have to give me a rationale that I can

23 actually do this.

24             MR. FERRARA:   Sure.   I think the simplest way would be

25 just to deny injunctive relief as to 425.31(i) because that's a


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 1 partial denial, and our research has indicated that partial

 2 denials of injunctive relief are appealable of right.

 3             The other way you could do it would be under 54(b) and

 4 just certify the issue; there being no reason to delay because

 5 your decision on this is inevitable anyway, so there is no

 6 reason to delay, so that meets the --

 7             (Cross-talk)

 8             THE COURT:    Well, there is a reason to delay, right,

 9 under 54(b) because I haven't ruled on the other aspects of your

10 preliminary injunction.

11             MR. FERRARA:   Well, that's true, but it is a discrete

12 issue.     I think everyone agrees on that.     The bubble zone stands

13 alone as a novelty.

14             THE COURT:    Well, here is what I would urge.      I don't

15 know that -- hold on a second.      I am just looking at -- what did

16 you say to me, 54?

17             MR. FERRARA:   54(b).

18             MR. McHALE:    54(b).

19             MR. FERRARA:   Well, again, a partial denial of

20 injunctive relief would certainly be procedurally appropriate.

21             THE COURT:    Yeah, I mean, to me, that seems to be --

22 that seems to me to be something that's entirely reasonable at

23 my end, which is, I have indicated to you already that I am not

24 going to grant an injunction in this scenario because it's

25 exactly the same as the Vitagliano, and so that might be


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 1 something that you and Mr. Nonna can agree on consent; no

 2 objection to the Court entering an order denying a preliminary

 3 injunction for 425.31(i), and then you do whatever you need to

 4 do with it.

 5             I don't know the answer to the question:       A partial

 6 denial of an injunction is appealable as of right.          I don't know

 7 that.

 8             MR. FERRARA:   Yeah, we believe it is.       I think that

 9 makes the most sense probably.       I think Your Honor's misgivings

10 about 54(b) would indicate that we should go the other way.

11             THE COURT:   Yeah, I mean, I've had this certification

12 a couple of times, and it doesn't work out the way the lawyers

13 want it to.

14             MR. FERRARA:   Yeah.   We understand that.

15             THE COURT:   So I think the simplest thing on consent

16 would be nobody objects to me denying the motion.          Of course,

17 you object to the denial of the motion, but the procedural tenor

18 of doing that now so that you can do it -- take whatever

19 procedural step you need to take.       All right?

20             MR. FERRARA:   Yeah, I think that makes sense.

21             MR. NONNA:   Well, the denial be would the denial of a

22 preliminary injunction as to 421 point -- 425.31(i).

23             MR. FERRARA:   Yes.

24             THE COURT:   Yes.

25             MR. NONNA:   Got it.


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 1             THE COURT:    Yes.   For the reasons set forth in the

 2 Vitagliano decision.

 3             MR. FERRARA:   Yeah, I think that makes perfect sense.

 4             THE COURT:    Yes.   All right?    And then -- then if your

 5 belief is you have a right to appeal that partial denial, so be

 6 it.

 7             MR. FERRARA:   Okay.

 8             THE COURT:    All right?

 9             MR. FERRARA:   We're fine with that.

10             THE COURT:    All right.    Terrific.

11             Anything else that I can do for anybody right now?

12             MR. FERRARA:   I guess not.

13             MR. McHALE:    Your Honor, one quick -- one quick

14 question?    When we serve the motion papers and the oppositions

15 and that, do you want courtesy copies at that time?

16             THE COURT:    Yes.   And just be -- heed my advice, I am

17 a burden-of-proof person.        That's how I think.     That's how I

18 judge.     That's how I adjudicate.     Stick to the burden of proof.

19 I don't need wild and, you know, broad-brushed statements.          Tell

20 me why you are entitled to an injunction in this case here with

21 these plaintiffs.     All right?

22             MR. FERRARA:   That's fine, Your Honor.

23             THE COURT:    All right.    Terrific.

24             MR. McHALE:    Thank you, Your Honor.

25             THE COURT:    I look forward to working with you.


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 1             MR. McHALE:   Thank you, Your Honor.

 2             MR. NONNA:    Thank you.

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                                                           Application denied.

                                                           The Court finds no basis in law to bifurcate the motion for
                                                           preliminary injunction as Plaintiffs request. The Court will
                                                           consider Plaintiffs' request for preliminary injunctive relief
                                                           as to all of the challenged provisions of Section 425.31
                                                           once the motion is sub judice.
                                                  January 19, 2023
                                                           SO ORDERED.

Hon. Philip M. Halpern, U.S.D.J.
U.S. District Court for the Southern District of New _______________________
                                                     York
Hon. Charles L. Brieant Jr.                          Philip M. Halpern
                                                     United States District Judge
Federal Building and U.S. Courthouse
300 Quarropas St., Room 530                          Dated: White Plains, New York
White Plains, NY 10601                                       January 25, 2023

                        Re: 40 Days for Life v. County of Westchester, 7:22-cv-06950 (PMH)
                           Rel. Vitagliano v. County of Westchester, 7:22-cv-09370 (PMH)

Dear Judge Halpern:

      Further to the colloquy with the Court yesterday at the pre-motion conference, I am submitting
herewith a proposed form of order denying injunctive relief as to § 425.31(i) of the Laws of Westchester
County, the so-called 8-foot “bubble zone” provision. Per County Counsel John Nonna’s representation
yesterday, confirmed in a telephone conversation with him today, the County has no objection to the entry of
such an order.


                                                            Respectfully submitted,

                                                            s/Christopher A. Ferrara
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                     “Injustice anywhere is a threat to justice everywhere.” - Dr. Martin Luther King
